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                    EXHIBIT A
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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT



                                                                     CHAPTER II
 In re:

 HO WAN KWOK,                                                        Case No. 22-50073(JAM)
                               Debtor.
                                                                     March 15,2022


            AFFIDAVIT IN SUPPORT OF MOTION FOR AN ORDER ADMITTING
                     CAROLLYNN H.G. CALLARI PROHAC VICE


 STATE OF NEW YORK                       )
                                         )    ss.
 COUNTY OF NEW YORK                      )

          1.    I, Carollynn Callari, am over the age of 21 years and believe in the obligations of

 an oath.

          2.    I am a partner in the law firm of office of Callari Partners which maintains an

 office at One Rockefeller Plaza, 10th Floor, New York, New York 300 10020, Telephone (212)

 202-3050, Fax (732) 243-0163 and email at ccallari{a)callarirtartners.com.

          3.    I am a member in good standing of the bars of the State of New York (Bar

 #2674208) and the State of New Jersey (Bar #053961994).

          4.    I have no pending disciplinary complaints as to which a finding has been made

 that such complaint should proceed to a hearing.

          5.    I do not have any grievances pending against me and I have not been denied

 admission, reprimanded, suspended, disbarred or disciplined by any Court.
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        6.      I have fully reviewed and am familiar with the Rules of the United States District

 Court for the District of Connecticut and the Local Rules of Bankruptcy Procedure of the United

 States Bankruptcy Court for the District of Connecticut.

        7.      I designate Attorney Kristin B. Mayhew as my agent for service of process and the

 District of Connecticut as the forum for the resolution of any dispute arising out of my admission

 pro hac vice in the above-captioned matter.




                                               Caroll_



 Subscribed and sworn to before me
 this 1   day of March, 2022.




 Notary Public—*
 My Commission expires:
